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             BEFORE THE UNITED STATES JUDICIAL PANEL ON
                     MULTIDISTRICT LITIGATION




IN RE: APARTMENT RENTAL SOFTWARE
ANTITRUST LITIGATION
                                            MDL No.




   MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION FOR
    TRANSFER AND CENTRALIZATION PURSUANT TO 28 U.S.C. § 1407
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                                        INTRODUCTION

       Defendants1 renew their motion to transfer and centralize2 22 related actions (the

“Actions”)3 now pending in 7 jurisdictions across the country to the Northern District of Texas

for consolidated pretrial proceedings. Each Action generally alleges Defendants have inflated

prices of multifamily residential real estate leases above competitive levels through revenue

management software provided by Defendant RealPage, Inc. (“RealPage”). All Actions include

similar factual issues and assert substantially identical causes of action on behalf of overlapping

putative nationwide, statewide, and/or city-specific classes and subclasses. Most Actions have

been filed in the last several weeks. Plaintiffs have not yet served the majority of Defendants, no

Defendant has yet responded to any Action, and most Defense counsel have not entered

appearances in the Actions. Centralization in a single district will prevent duplicative discovery

and inconsistent pretrial rulings, and will conserve party and court resources.

       The Panel should centralize these Actions in the Northern District of Texas because that


1
  Defendants include the following entities: Allied Orion Group; AvalonBay Communities, Inc.;
Avenue5 Residential, LLC; BH Management Services, LLC; Bozzuto Management Company;
CA Ventures Global Services, LLC; Camden Property Trust; Campus Advantage, Inc.; Cardinal
Group Holdings LLC; ConAm Management Corporation; Cortland Partners LLC; Cushman &
Wakefield, Inc.; Pinnacle Property Management Services; D.P. Preiss Company, Inc.; Equity
Residential; Essex Property Trust, Inc.; Essex Management Corporation; FPI Management, Inc.;
Greystar Real Estate Partners, LLC; Highmark Residential, LLC; Lincoln Property Co.; Mid-
America Apartment Communities, Inc.; Mission Rock Residential, LLC; Morgan Group, Inc.;
Prometheus Real Estate Group; RealPage, Inc.; RPM Living, LLC; Security Properties Inc.;
Sherman Associates, Inc.; The Michaels Organization, LLC; Interstate Realty Management
Company; Thrive Communities Management, LLC; UDR, Inc.; Windsor Property Management;
and ZRS Management, LLC (collectively, “Defendants”). Each signatory joins this filing as to
the individual action or actions in which they are named.
2
  On December 8, 2022, some Defendants filed a corrected motion before the Panel. See MDL
3066, In re: RealPage Apartment Rental Software Antitrust Litig., Dkt. Nos. 1-4. However, due
to some Plaintiffs’ voluntarily dismissing and re-filing the actions then existing outside the
Western District of Washington (thus eliminating the multidistrict nature of the litigation), the
Panel denied the motion as moot. See MDL 3066, Dkt. No. 7. Following the Panel’s Order, at
least 7 additional cases have been filed in 6 different jurisdictions by additional plaintiffs. Thus,
Defendants now renew their motion in light of the 22 Actions now pending in 7 jurisdictions
across the country.
3
  See Schedule of Actions, filed concurrently herewith, for a listing of the 22 related Actions.

                                                      1
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district has the strongest connection to this litigation, and the litigation will be handled most

efficiently there. RealPage, the central Defendant in each Action, is headquartered in the

Northern District of Texas, and 14 other Defendants are headquartered in Texas as well. In

addition, over half of the Defendants across the Actions manage, operate or own property in

Texas, and many Defendants have important employees located there. Two of the Actions

pending in the nearby Western District of Texas focus on alleged harm to renters in Dallas,

6 Plaintiffs are Texas residents, and another Plaintiff previously rented property in Texas. Thus,

many relevant witnesses and documents—including those of RealPage—are located in Texas.

The Northern District of Texas also provides a geographically central and convenient forum for

this nationwide litigation, and it enjoys docket conditions that allow efficient administration of

these Actions.

       Defendants respectfully request the Panel transfer these Actions to the Northern District

of Texas for consolidated pretrial proceedings.

                                         BACKGROUND

       Plaintiffs are alleged renters of multifamily residential units in Texas, California,

Georgia, North Carolina, Florida, New York, Colorado, Washington, New Mexico, Washington

D.C., Tennessee, and Massachusetts. Plaintiffs have brought these Actions against RealPage—a

Texas-based technology company that provides software solutions and data analytics to the real

estate industry—and various multifamily property management companies, asserting violations

of Section 1 of the Sherman Act based on the alleged use of RealPage’s revenue management

software. The first-filed putative class Action, Bason v. RealPage, Inc., was filed on October 18,

2022 in the Southern District of California. See Bason, Complaint, No. 3:22-cv-01611 (S.D. Cal.

Oct. 18, 2022). Since Bason was filed, Plaintiffs have filed 30 additional Actions against




                                                      2
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Defendants in jurisdictions across the country, including the Western District of Texas, the

Northern District of California, the Central District of California, the Southern District of

California, the Northern District of Illinois, the Southern District of New York, the Western

District of Washington, the District of Colorado, the District of Massachusetts, the District of

New Mexico, the District of Columbia, and the Middle District of Tennessee. 4

       Between December 2 and December 13, some Plaintiffs voluntarily dismissed 9 of these

Actions and then re-filed 7 virtually identical complaints in the Western District of Washington.



4
  See Compl., Navarro v. RealPage, Inc., No. 2:22-cv-01552 (W.D. Wash. Nov. 2, 2022);
Compl., Lazarte v. RealPage, Inc., No. 4:22-cv-06904 (N.D. Cal. Nov. 4, 2022); Notice of
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Alvarez v. RealPage, Inc., No. 2:22-cv-01617 (W.D. Wash. Nov. 10, 2022); Compl., Cherry v.
RealPage, Inc., No. 2:22-cv-01618 (W.D. Wash. Nov. 11, 2022); Compl., Bohn v. RealPage,
Inc., No. 1:22-cv-06349 (N.D. Ill. Nov. 14, 2022); Notice of Voluntary Dismissal, Bohn, No.
1:22-cv-06349 (N.D. Ill. Dec. 6, 2022), Dkt. No. 6; Compl., Godfrey v. Irvine Co., No. 8:22-cv-
2082 (C.D. Cal. Nov. 15, 2022); Notice of Voluntary Dismissal, Godfrey, No. 8:22-cv-2082
(C.D. Cal. Dec. 6, 2022), Dkt. No. 33; Compl., Silverman v. RealPage, Inc., No. 1:22-cv-09850
(S.D.N.Y. Nov. 18, 2022); Notice of Voluntary Dismissal, Silverman, No. 1:22-cv-09850
(S.D.N.Y. Dec. 8, 2022), Dkt. No. 6; Compl., Johnson v. Irvine Co., No. 8:22-cv-02113 (C.D.
Cal. Nov. 21, 2022); Notice of Voluntary Dismissal, Johnson v. Irvine Co., No. 8:22-cv-02113
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Cal. Nov. 23, 2022); Notice of Voluntary Dismissal, Morgan, No. 8:22-cv-02136 (C.D. Cal.
Dec. 2, 2022), Dkt. No. 3; Compl., Armas v. RealPage, Inc., No. 4:22-cv-07543 (N.D. Cal. Nov.
30, 2022);Notice of Voluntary Dismissal, Armas, No. 4:22-cv-07543 (N.D. Cal. Dec. 6, 2022),
Dkt. No. 6; Compl., Morgan v. RealPage, Inc., No. 2:22-cv-01712 (W.D. Wash. Dec. 2, 2022);
Compl., Crook v. RealPage, Inc., No. 3:22-cv-01907 (S.D. Cal. Dec. 2, 2022); Notice of
Voluntary Dismissal, Crook, No. 3:22-cv-01907 (S.D. Cal. Dec. 2, 2022), Dkt. No. 3; Compl.,
Armas v. RealPage, Inc., No. 2:22-cv-01726 (W.D. Wash. Dec. 6, 2022); Compl., Johnson v.
RealPage, Inc., No. 2:22-cv-01734 (W.D. Wash. Dec. 7, 2022); Compl., Silverman v. RealPage,
Inc., No. 2:22-cv-01740 (W.D. Wash. Dec. 8, 2022); Compl., Bohn v. RealPage, Inc., No. 2:22-
cv-01743 (W.D. Wash. Dec. 9, 2022); Compl., Pham v. RealPage, Inc., 2:22-cv-01744 (W.D.
Wash. Dec. 9, 2022); Compl., Godfrey v. RealPage Inc., No. 2:22-cv-01759 (W.D. Wash. Dec.
13, 2022); Compl., Weaver v. RealPage, Inc., No. 1:22-cv-3224 (D. Colo. Dec. 14, 2022);
Compl., White v. RealPage, Inc., No. 1:22-cv-12134 (D. Mass. Dec. 16, 2022); Compl.,
Zhovmiruk v. RealPage, Inc., No. 2:22-cv-01779 (W.D. Wash. Dec. 16, 2022); Compl., Vincin v.
RealPage, Inc., No. 1:22-cv-1329 (W.D. Tex. Dec. 19, 2022); Compl., Carter v. RealPage, Inc.,
No. 1:22-cv-01332 (W.D. Tex. Dec. 19, 2022); Compl., Boelens v. RealPage, Inc., No. 2:22-cv-
01802 (W.D. Wash. Dec. 20, 2022); Compl., Moore v. The Irvine Company, No. 2:22-cv-01826
(W.D. Wash. Dec. 27, 2022); Compl., Augustson v. RealPage, Inc., No. 1:22-cv-00976 (D.N.M.
Dec. 27, 2022); Compl., Kramer v. RealPage, Inc., No. 1:22-cv-03835 (D.D.C. Dec. 29, 2022);
Compl., Precht v. RealPage, Inc., No. 1:22-cv-12230 (D. Mass. Dec. 29, 2022); Compl., Watters
v. RealPage, Inc., No. 3:22-cv-01082 (M.D. Tenn. Dec. 30, 2022); Compl., Mackie v. RealPage,
Inc., No. 1:23-cv-00011 (D. Colo. Jan. 3, 2023).

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See Section II.E. As of December 13, all Actions were pending in the Western District of

Washington. That did not last long.

       On December 14, 2022, a new Plaintiff filed the Weaver Action in the District of

Colorado. See n. 4. On December 16, other Plaintiffs filed the White and Zhovmiruk Actions in

the District of Massachusetts and the Western District of Washington, respectively. Id. More

new Plaintiffs filed the Vincin and Carter Actions in the Western District of Texas on December

19. Id. Between December 20, 2022 and January 3, 2023, more Plaintiffs filed 7 additional

Actions across the country, including the District of Columbia and Tennessee. Id.

       As of the date of this Motion, there are 22 Actions pending in 7 districts—13 in the Western

District of Washington, 2 in the Western District of Texas, 2 in the District of Massachusetts, 2 in

the District of Colorado, 1 in the District of New Mexico, 1 in the District of Columbia, and 1 in

the Middle District of Tennessee. All of these except 1 purport to be putative class actions.

       On December 19, 2022, a subset of the current Plaintiffs moved to consolidate 10 Actions

pending in the Western District of Washington before Judge Lasnik. See Navarro, Dkt. No. 67.

However, Plaintiffs’ counsel in the Boelens Action – as well as in Actions pending in Colorado,

Massachusetts, and Texas – intervened and noted that “because there are multiple cases on file in

multiple federal courts, we do not know whether these cases will ultimately be consolidated, and

if so, where.” Interested Party Response to Plaintiff’s Motion to Appoint Interim Class Counsel,

Navarro (W.D. Wash. Dec. 21, 2022), Dkt. 70 at 3. Thus, certain Plaintiffs’ counsel agree that

these Actions should be consolidated but disagree on the appropriate forum.

       While Defendants agree that centralization is critical to prevent duplicative discovery and

inconsistent pretrial rulings, among other things, centralizing only a portion of the 22 cases will

not avoid those problems. Because full consolidation is far better than partial consolidation,




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Defendants submit that the MDL process is better equipped to address that centralization. The

Panel should centralize these Actions in the Northern District of Texas.

       The gravamen of the complaints in each Action is the same: Defendant lessors and

property managers allegedly agreed to artificially inflate the prices of multifamily residential real

estate (and, in 1 Action, student housing) above competitive levels through the use of the

RealPage revenue management software. 5 Plaintiffs assert that, before utilizing RealPage’s

revenue management software, Defendants priced their leases competitively to maximize

occupancy.6 Plaintiffs contend that Defendants supposedly shifted from making independent

pricing and supply decisions to “collusion” when they agreed to use the RealPage revenue

management software.7 Plaintiffs further allege RealPage’s software has caused anticompetitive

effects in the form of artificially higher prices and artificially reduced output. 8 Defendants deny

these allegations.

       Plaintiffs in nearly all of the pending Actions assert claims for violations of Section 1 of

the Sherman Act.9 Plaintiffs in several Actions also assert claims for violations of various state


5
  See Navarro, Compl. ¶¶ 1, 4, 10 (as to student housing leases); Alvarez, Compl. ¶¶ 2, 7;
Cherry, Compl. ¶¶ 3-4; Morgan, 2:22-cv-01712, Compl. ¶¶ 1, 11; Armas, 2:22-cv-01726,
Compl. ¶¶ 5, 11; Johnson, 2:22-cv-01734, Compl. ¶¶ 1, 5; Silverman, 2:22-cv-01740, Compl.
¶¶ 3-7; Bohn, 2:22-cv-01743, Compl. ¶ 3; Pham, Compl. ¶¶ 10-11; Godfrey, 2:22-cv-01759,
Compl. ¶¶ 1, 4; Weaver, Compl. ¶ 13; White, Compl. ¶ 13; Zhovmiruk, Compl. ¶¶ 1, 10; Vincin,
Compl. ¶¶ 1, 13; Carter, Compl. ¶¶ 1, 13; Boelens, Compl. ¶¶ 11, 13; Moore, Compl. ¶¶ 1, 10;
Augustson, Compl. at 5; Kramer, Compl. ¶¶ 1, 13; Precht, Compl. ¶ 4, 13; Watters, Compl. ¶¶ 1,
3, 13; Mackie, Compl. ¶¶ 1, 3, 13.
6
  See, e.g., Navarro, Compl. ¶¶ 35, 47; Morgan, 2:22-cv-01712, Compl. ¶ 63; Bohn, 2:22-cv-
01743, Compl. ¶¶ 4, 37; Pham, Compl. ¶¶ 10-11; Weaver, Compl. ¶¶ 6, 42; Vincin, Compl. ¶ 35.
7
  See, e.g., Alvarez, Compl. ¶¶ 33-34, 38; Bohn, 2:22-cv-01743, Compl. ¶¶ 52, 59; Zhovmiruk,
Compl. ¶¶ 4, 43; Weaver, Compl. ¶ 44; Carter, Compl. ¶ 50.
8
  See, e.g., Navarro, Compl. ¶ 49; Cherry, Compl. ¶ 45; Morgan, 2:22-cv-01712, Compl. ¶¶ 12-
13; Silverman, 2:22-cv-01740, Compl. ¶ 49; White, Compl. ¶ 13; Carter, Compl. ¶ 13.
9
  See, e.g., Navarro, Compl. ¶¶ 82-99; Alvarez, Compl. ¶¶ 297-309; Cherry, Compl. ¶¶ 86-107;
Morgan, 2:22-cv-01712, Compl. ¶¶ 133-137; Armas, 2:22-cv-01726, Compl. ¶¶ 99-111;
Johnson, 2:22-cv-01734, Compl. ¶¶ 91-95; Silverman, 2:22-cv-01740, Compl. ¶¶ 91-96; Bohn,
2:22-cv-01743, Compl. ¶¶ 93-99; Godfrey, 2:22-cv-01759, Compl. ¶¶ 91-95; Weaver, Compl.
¶¶ 107-113; White, Compl. ¶¶ 100-105; Zhovmiruk, Compl. ¶¶ 94-98; Vincin, Compl. ¶¶ 97-102;



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laws. Specifically, Plaintiffs in the 2 Actions currently pending in the Western District of Texas

allege state-law claims for violations of Section 15.05 of the Texas Free Enterprise and Antitrust

Act of 1983. Vincin, Compl. ¶¶ 103-109; Carter, Compl. ¶¶ 103-109. Plaintiffs in the Pham

Action assert violations of California’s Cartwright Act, Cal. Bus. & Prof. Code §§ 16700–16770

(Pham, Compl. ¶¶ 122-123), the Washington Consumer Protection Act (id. ¶¶ 113-121), and the

Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §§ 501.201–.213. Id. ¶¶ 124-129.

In the Armas Action, Plaintiff alleges a claim for violation of North Carolina Gen. Stat. §§ 75-1

to -145 (Armas, 2:22-cv-01726, Compl. ¶¶ 112-118) and a claim for violations of the Florida

Deceptive and Unfair Trade Practices Act, Fla. Stat. §§ 501.201–.213. Id. ¶¶ 120-128. In the

Weaver and Mackie Actions, Plaintiffs assert violations of Section 104 of the Colorado Antitrust

Act. Weaver, Compl. ¶¶ 114-119; Mackie, Compl. ¶¶ 113-118. And in the White and Precht

Actions, Plaintiffs allege violations of Section 4 of the Massachusetts Antitrust Act, Mass. Gen.

Laws Ann. Ch. 93, § 4. White, Compl. ¶¶ 106-111; Precht, Compl. ¶¶ 106-111. And Plaintiffs

in 6 Actions allege common law claims for unjust enrichment. 10

       The Complaints assert these federal, state law, and common law claims on behalf of

overlapping putative nationwide, statewide, and/or city-specific classes and subclasses of direct

purchasers of multifamily residential real estate leases and/or student housing leases for property

managed by companies participating in “RealPage’s pricing software and/or lease renewal

staggering software programs.”11


Carter, Compl. ¶¶ 97-102; Boelens, Compl. ¶¶ 100-105; Moore, Compl. ¶¶ 111-115; Kramer,
Compl. ¶¶ 99-105; Precht, Compl. ¶¶ 100-105; Watters, Compl. ¶¶ 95-101; Mackie, Compl. ¶¶
106-112.
10
   See Weaver, Compl. ¶¶ 121-123; White, Compl. ¶¶ 113-115; Vincin, Compl. ¶¶ 110-112;
Carter, Compl. ¶¶ 110-112; Precht, ¶¶ 112-115; Mackie, Compl. ¶¶ 120-122.
11
   See Navarro, Compl. ¶ 73 (nationwide class); Vincin, Compl. ¶ 78 (Austin, Dallas, and
Houston classes); Carter, Compl. ¶ 78 (Austin, Dallas, and Houston classes); Morgan, 2:22-cv-
01712, Compl. ¶ 124 (nationwide class); Alvarez, Compl. ¶ 290 (nationwide class); Cherry,



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       In almost half of the Actions, Plaintiffs allege the relevant geographic market is the

United States.12 In addition to the alleged United States market, the 2 Actions currently pending

in the Western District of Texas assert that the relevant geographic markets include the Greater

Dallas Metro Area, Greater Austin Metro Area, and Greater Houston Metro Area. Vincin,

Compl. ¶ 78; Carter, Compl. ¶ 78. Nine other Actions allege geographic markets elsewhere in

the country in the greater metro areas of Seattle, New York City, Denver, Boston, Washington,

D.C., and Nashville.13

       Plaintiffs across the Actions allege that the relevant product market is the market for the

lease of multifamily residential real estate, with the sole exception of the Navarro Action, which

alleges a market for student housing.14



Compl. ¶ 77 (Seattle, Washington class); Armas, 2:22-cv-01726, Compl. ¶ 82 (nationwide class,
North Carolina subclass, and Florida subclass); Johnson, 2:22-cv-01734, Compl. ¶ 82
(nationwide class); Silverman, 2:22-cv-01740, Compl. ¶ 82 (New York City metro area class);
Bohn, 2:22-cv-01743, Compl. ¶ 74 (nationwide class); Pham, Compl. ¶¶ 92-93 (nationwide class
as well as Washington, California, and Florida subclasses); Godfrey, 2:22-cv-01759, Compl. ¶ 82
(nationwide class); Weaver, Compl. ¶ 88 (Greater Denver metro area class); White, Compl. ¶ 81
(Greater Boston metro area class); Zhovmiruk, Compl. ¶ 85 (nationwide class); Boelens, Compl.
¶ 81 (Greater Seattle Metro Area subclass); Moore, Compl. ¶ 103 (nationwide class); Kramer,
Compl. ¶ 80 (Greater Washington, D.C. Metro Area class); Precht, Compl. ¶ 81 (Greater Boston
Metro Area class); Watters, Compl. ¶ 76 (Greater Nashville Metro Area class); Mackie, Compl. ¶
87 (Greater Denver Metro Area class).
12
   See Navarro, Compl. ¶ 26 (including distinct geographic submarkets in college towns);
Alvarez, Compl. ¶¶ 44; Morgan, 2:22-cv-01712, Compl. ¶ 58; Armas, 2:22-cv-01726, Compl.
¶¶ 104, 115-16, 123, 126 (including North Carolina and Florida submarkets); Johnson, 2:22-cv-
01734, Compl. ¶ 31; Bohn, 2:22-cv-01743, Compl. ¶ 1; Pham, Compl. ¶¶ 44, 93, 106 (including
California, Washington, and Florida submarkets); Godfrey, 2:22-cv-01759, Compl. ¶ 31;
Zhovmiruk, Compl. ¶ 34; Moore, Compl. ¶ 48.
13
   See Cherry, Compl. ¶¶ 30, 95 (Seattle); Boelens, Compl. ¶ 76 (Greater Seattle Metro Area);
Silverman, 2:22-cv-01740, Compl. ¶ 36 (New York city Metro Area); Weaver, Compl. ¶ 84
(Greater Denver Metro Area); White, Compl. ¶ 76 (Greater Boston metro area); Precht, Compl. ¶
76 (greater Boston metro area); Kramer, Compl. ¶ 76 (Greater Washington, D.C. Metro Area);
Watters, Compl. ¶ 72 (Greater Nashville Metro Area); Mackie, Compl. ¶ 83 (Greater Denver
Metro Area).
14
   See Navarro, Compl. ¶ 26; Alvarez, Compl. ¶ 44; Cherry, Compl. ¶ 30; Morgan, 2:22-cv-
01712, Compl. ¶ 58; Armas, 2:22-cv-01726, Compl. ¶ 105; Johnson, 2:22-cv-01734, Compl.
¶ 31; Silverman, 2:22-cv-01740, Compl. ¶ 36; Bohn, 2:22-cv-01743, Compl. ¶ 1; Pham, Compl.
¶ 44; Godfrey, 2:22-cv-01759, Compl. ¶ 31; Weaver, Compl. ¶ 85; White, Compl. ¶ 77;
Zhovmiruk, Compl. ¶ 34; Vincin, Compl. ¶ 74; Carter, Compl. ¶ 74; Boelens, Compl. ¶ 77;



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        All Actions are in their infancy. In several Actions, Plaintiffs have served none of the

Defendants, and in the others, Defendants have not yet responded to any of the Complaints. The

parties in these latter Actions have obtained orders suspending deadlines to respond to the

Complaints until the coordination and transfer issues are resolved.

                                           DISCUSSION

   I.      THE PANEL SHOULD TRANSFER AND CENTRALIZE THE ACTIONS
           PURSUANT TO SECTION 1407.

        The Panel has authority under 28 U.S.C. § 1407 to transfer “civil actions involving 1 or

more common questions of fact [that] are pending in different districts” to a single district for

consolidated or coordinated pretrial proceedings. 28 U.S.C. § 1407(a). Consolidation is

warranted when transfer “will be for the convenience of parties and witnesses and will promote

the just and efficient conduct of such actions.” Id. These criteria are satisfied here.

        First, the Actions share overlapping class definitions, common Defendants, and virtually

identical claims under the Sherman Act. Each Complaint alleges Defendants have suppressed or

eliminated competition in violation of federal antitrust law by purportedly using RealPage’s

revenue management software to outsource pricing and supply decisions. Because of these

overlapping allegations, the discovery pursued in each of these Actions will address many of the

same issues, including, among others: (i) whether Defendants have conspired to artificially

inflate prices and/or artificially suppress supply of multifamily residential real estate leases from

competitive levels through the use of RealPage’s revenue management software; (ii) whether

RealPage’s revenue management software facilitates collusion among Defendant-lessors; (iii) the

design and operation of RealPage’s revenue management software; (iv) defining the relevant




Moore, Compl. ¶ 48; Augustson, Compl. at 4; Kramer, Compl. ¶ 76; Precht, Compl. ¶ 76;
Watters, Compl. ¶ 72; Mackie, Compl. ¶ 83.

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market(s); and (v) identifying competitors in the relevant market(s) and their market shares.

       These issues make transfer under Section 1407 proper. 15 Under Section 1407, “one or

more common questions of fact” are sufficient to warrant centralization, and the Panel has

consistently centralized cases that, as here, involve the same core antitrust allegations. See, e.g.,

In re Digital Advertising Antitrust Litig., 555 Supp. 3d 1372, 1375 (J.P.M.L. 2021)

(consolidating antitrust actions that shared “common factual questions” and alleged Sherman Act

claims against search-engine company for anticompetitive behavior in market for online

advertising); In re Deere & Co. Repair Servs. Antitrust Litig., MDL No. 3030, 2022 WL

2133576, at *1 (J.P.M.L. June 1, 2022) (centralizing actions that asserted substantially identical

claims under the Sherman Act and “share[d] factual issues arising from allegations that, through

various anticompetitive practices, [Defendant] has monopolized the market for repair and

maintenance services for . . . agricultural equipment”); In re Direct Purchaser Plaintiff Beef

Antitrust Litig., MDL No. 3031, 2022 WL 2126159, at *1 (J.P.M.L. June 3, 2022) (centralizing

actions that “share[d] factual questions arising from plaintiffs’ allegations that . . . defendants

exploited their market power in this highly concentrated market by conspiring to limit the

supply, and fix the prices, of beef sold in the U.S. wholesale market”). 16 The Panel should



15
   That each putative class action Complaint contains similar factual allegations shows there are
“common questions” for purposes of consolidation or coordination under Section 1407. “The
criteria for a class determination pursuant to Rule 23 of the Federal Rules of Civil Procedure are
different from the criteria for transfer pursuant to 28 U.S.C. § 1407,” In re 7-Eleven Franchise
Antitrust Litig., 358 F. Supp. 286, 287 (J.P.M.L. 1973), and Defendants do not concede that
commonality, adequacy, typicality, predominance, or any other class certification requirement in
Rule 23 is satisfied.
16
   See also In re Pork Direct & Indirect Purchaser Antitrust Litig., 544 F. Supp. 3d 1379, 1380
(J.P.M.L 2021) (centralizing actions that “share[d] factual questions arising from an alleged
conspiracy, starting in or around 2009, among leading American pork producers to fix, raise,
maintain, and stabilize the price of pork in the United States”); In re Crop Inputs Antitrust Litig.,
543 F. Supp. 3d 1381, 1382 (J.P.M.L. 2021) (centralizing actions involving “common factual
allegations about defendants’ anticompetitive conduct, including a group boycott of electronic
sales platforms and price fixing in the manufacturing, wholesaling, and retailing of crop inputs”).

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transfer and consolidate the Actions for pretrial proceeding for the same reasons. 17

        Second, centralization and consolidation of the Actions in a single district for pretrial

proceedings will avoid the inefficiency, expense, and risk of inconsistent rulings that would result

from separate litigation of substantially similar cases across the country. Without centralization,

these 22 pending Actions would proceed separately in 7 districts from Texas to Massachusetts to

Washington. There is no dispute that transfer and consolidation will benefit both the courts and

the parties.

        Centralizing the pretrial proceedings in the Actions will reduce duplicative discovery and

conserve the resources of the parties and the courts. Because the Complaints share similar

factual allegations and assert substantially identical legal claims, overlapping discovery will

occur across the Actions if the cases are not consolidated. For example, all Actions will require

discovery from RealPage, the principal Defendant across all cases. Plaintiffs in each Action can

be expected to request many of the same documents and seek depositions of many of the same

RealPage employees (and employees of all other common Defendants) related to the RealPage

revenue management software and Defendants’ use of that software. Consolidation would

eliminate such a duplication of efforts. The Panel has repeatedly determined that centralization

is appropriate in antitrust cases for precisely this reason. See, e.g., In re Deere & Co. Repair

Servs. Antitrust Litig., 2022 WL 2133576, at *1 (Centralizing actions “eliminate[s] duplicative




17
  The Actions that have been filed against Defendants are not identical, of course, but the
differences do not undermine the basis for consolidation. For example, as described above, at
least 1 Action (Navarro) is focused on Defendants’ alleged anticompetitive conduct through the
use of RealPage’s revenue management software as it relates to student housing, not residential
multifamily real estate leases. A “complete identity of common factual issues” is not a
prerequisite to transfer under Section 1407, “and the presence of additional facts or differing
legal theories is not significant when the actions arise from a common factual core.” In re Blue
Cross Blue Shield Antitrust Litig., 908 F. Supp. 2d 1373, 1376 (J.P.M.L. 2012).

                                                     10
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discovery . . . and conserve[s] the resources of the parties, their counsel, and the judiciary.”). 18

        The parties also would have to litigate—and multiple district courts would have to

resolve—similar legal issues and discovery disputes multiple times. Centralization will avoid

the risk of inconsistent pretrial rulings, including on motions to dismiss, discovery disputes (if

the cases survive the pleadings stage), class certification, summary judgment, Daubert issues,

and other pretrial matters. That risk is especially acute where, as here, the Complaints assert

substantially identical claims based on certain common allegations and on behalf of overlapping

putative classes whose interests are ostensibly represented in multiple jurisdictions. All Actions

seek to certify nationwide, statewide, and/or city-specific classes and subclasses related to

Defendants’ use of RealPage’s software. Absent consolidation, the risk of inconsistent rulings

among the Actions is substantial. The Panel often finds that this risk supports centralization in

antitrust litigation. See In re Deere & Co. Repair Servs. Antitrust Litig., 2022 WL 2133576, at

*1 (Centralizing actions will “prevent inconsistent pretrial rulings, particularly with respect to

class certification . . . .”); In re Google Antitrust Litig., 521 F. Supp. 3d 1358, 1360 (J.P.M.L.

2021) (Centralizing actions will “prevent inconsistent pretrial rulings, including with respect to

class certification and Daubert motions . . . .”); In re Xyrem (Sodium Oxybate) Antitrust Litig.,

509 F. Supp. 3d 1375, 1376 (J.P.M.L. 2020) (same).

        Transfer is particularly appropriate here because all Actions are in their procedural

infancy. Defendants have not yet been served in over half of the 22 Actions, nor have



18
  See also In re Direct Purchaser Plaintiff Beef Antitrust Litig., 2022 WL 2126159, at *1 (If
actions were not centralized “the individual direct purchaser actions likely would involve
duplicative discovery . . . .”); In re Digital Advertising Antitrust Litig., 555 Supp. 3d at 1375
(Centralization promote[d] “just and efficient” litigation by “eliminating duplicative discovery
and avoiding the risk of inconsistent rulings on pretrial matters, particularly on discovery
disputes . . . .”); In re Pork Direct & Indirect Purchaser Antitrust Litig., 544 F. Supp. 3d at 1380
(Centralizing actions “will eliminate duplicative discovery; prevent inconsistent pretrial rulings;
and conserve the resources of the parties, their counsel, and the judiciary.”).

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Defendants responded to any of the Complaints. In the Actions in which a Defendant has been

served, the deadline to respond to the complaints in 5 such Actions has been indefinitely

suspended and, in 2 such Actions, service was effected only recently and not all Defendants have

been served.

          In the Alvarez, Navarro, and Cherry Actions, the parties have submitted joint status

reports regarding a proposed case schedule in response to the Court’s order directing the parties

to do so. In each status report, Defendants stated that it would be premature to enter a case

schedule at this time given the parties’ dispute as to the appropriate venue for transfer and

consolidation. See Alvarez, 2:22-cv-01617, Dkt. No. 49; Navarro, 2:22-cv-01552, Dkt. No. 71;

Cherry, 2:22-cv-01618, Dkt. No. 51. No court has ruled on any motion, entered any case

schedule or held a status conference.

          Because the transferor courts have not yet taken or had to take any substantive actions in

these cases, consolidation will not result in the duplication of efforts by the transferee court or

result in any prejudice to Plaintiffs. The Panel often grants centralization in instances where, as

here, the underlying actions were in the early stages, finding that centralized proceedings

provides efficiency and that transfer is not disruptive. See, e.g., In re Elec. Books Antitrust Litig.,

846 F. Supp. 2d 1378, 1379 (J.P.M.L. 2011) (finding centralization appropriate where “[a]ll

actions” had “not progressed beyond the filing of the complaints”); see also, e.g., In re Darvocet,

Darvon & Propoxyphene Prods. Liab. Litig., 780 F. Supp. 2d 1379, 1382 (J.P.M.L. 2011)

(granting centralization of 35 cases where, among other things, transfer would not be disruptive

at the early stage of the actions).

    II.      THE NORTHERN DISTRICT OF TEXAS IS THE APPROPRIATE
             TRANSFEREE DISTRICT.

          The Northern District of Texas is the most appropriate transferee district for these



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Actions in light of the location of relevant evidence, the geographic convenience of the district,

and its relative case load.

    A. Much of the Evidence Relevant to These Actions is Located in the Northern District
       of Texas.

        The Panel generally centralizes cases in a district where “pertinent documents and

witnesses are likely located.” In re Aftermarket Auto. Lighting Prods. Antitrust Litig., 598 F.

Supp. 2d 1366, 1368 (J.P.M.L. 2009); see also, e.g., In re Cotton Yarn Antitrust Litig., 336 F.

Supp. 2d 1383, 1384 (J.P.M.L. 2004) (centralizing cases challenging an alleged price-fixing

conspiracy in a district where “documents and witnesses can likely be found”); In re Korea Air

Lines Co., Ltd. Antitrust Litig., 528 F. Supp. 2d 1372, 1373 (J.P.M.L. 2007) (doing the same

“where discovery may be found”). Such evidence is typically located in the district in which the

defendants are headquartered. See, e.g., In re Chocolate Confectionary Antitrust Litig., 542 F.

Supp. 2d 1376, 1377 (J.P.M.L. 2008) (“Because defendant Hershey’s worldwide headquarters

are located there . . . relevant documents and witnesses are likely located in that area.”).

Moreover, where, as here, Plaintiffs allege a purported “hub-and-spoke” conspiracy, the Panel

has centralized cases based on the location of the alleged hub’s headquarters. See, e.g., In re

Fretted Musical Instruments Antitrust Litig., 657 F. Supp. 2d 1379, 1381 (J.P.M.L. 2009)

(determining the appropriate transferee district as “a convenient district for parties, witnesses,

and access to documents” based on the location of the headquarters of Guitar Center, which was

the alleged “hub” of the conspiracy).

        Under these standards, the Northern District of Texas is the district in which the Panel

should consolidate these Actions.

        RealPage, which is headquartered in the Northern District of Texas near Dallas, is 1 of

only 2 Defendants named in each of the pending Actions. The only other Defendant named in



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each of the pending Actions, Greystar Real Estate Partners, LLC, also has substantial operations

in the Dallas area. And every Complaint alleges RealPage was at the center of the alleged

conspiracy. See, e.g., Pham, Compl. ¶ 54 (“RealPage and Landlords mutually agree to accept the

pricing matrix offered by RealPage and not compete on the price of rental units.”); Weaver,

Compl. ¶ 59 (“[Defendants] must agree to outsource daily pricing and ongoing revenue oversight

to RealPage”). Though the Complaints are lacking in well-pleaded facts, some nonetheless

allege in conclusory fashion that RealPage “facilitat[ed]” horizontal agreements among

participating Lessors by “allowing Lessors to coordinate both pricing and supply.” See, e.g.,

Morgan, 2:22-cv-01712, Compl. ¶ 5; see also, e.g., Vincin, Compl. ¶ 3. Plaintiffs’ claims

therefore invite central questions related to RealPage, and those questions inherently have

stronger connections to the Northern District of Texas than to any other district. And Plaintiffs

can be expected to seek depositions of RealPage’s employees, who largely will be located in the

Northern District of Texas.

       Further, the Northern District of Texas is the district in which most of the evidence is

likely to be found, and, at the very least, no other district is likely to house more relevant

materials than the Northern District of Texas. In addition to RealPage, at least 14 other

Defendants are headquartered in the State of Texas.19 See, e.g., In re Aftermarket Auto. Lighting

Prods., 598 F. Supp. 2d at 1368 (“[S]everal defendants are headquartered within the Central

District of California and accordingly pertinent documents and witnesses are likely located

there.”); In re Lithium Ion Batteries Antitrust Litig., 923 F. Supp. 2d 1370, 1371 (J.P.M.L. 2013)



19
  These Defendants with headquarters in Texas are: Allied Orion Group LLC; Camden Property
Trust; Campus Advantage, Inc.; Conti Capital; CWS Apartment Homes, LLC; Dayrise
Residential, LLC; Highmark Residential, LLC; Kairoi Management, LLC; Knightvest
Residential; Lincoln Property Company; Morgan Group, Inc.; Pinnacle Property Management
Services, LLC; RPM Living LLC; and Trammel Crow Company, Inc.

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(“[R]elevant documents and witnesses may be found in the Northern District of California,

inasmuch as several defendants have major facilities or lithium ion battery business in or near the

district.”). In fact, as of the date of this motion, no federal judicial district encompasses the

headquarters of more Defendants than does the Northern District of Texas. Meanwhile,

approximately 35 of the more than 60 Defendants named in the Actions have operations and/or

own property in the Northern District of Texas. 20 To the extent evidence concerning specific

lease transactions involving Plaintiffs is outside the Northern District of Texas, that evidence

would be dispersed throughout multiple federal judicial districts across the country. Thus, the

Northern District of Texas is the forum in which the largest volume of relevant evidence is

located.

     B. The Northern District of Texas Provides a Geographically Central and Convenient
        Forum for this Nationwide Litigation.

        The Panel also considers whether a district “is a geographically convenient location.” In

re Ethylene Propylene Diene Monomer (EPDM) Antitrust Litig., 277 F. Supp. 2d 1373, 1374

(J.P.M.L. 2003). The geographically central location of the Northern District of Texas is ideal

given the broad geographic dispersion of the parties, putative class members, and filed cases.

Plaintiffs not only reside in cities across the United States, ranging from Dallas and San Diego to

Charlotte and Boston, but also purport to represent nationwide classes in cases that have been

20
  The Defendants that own and/or manage multifamily residential real estate units in in the
Northern District of Texas are: Allied Orion Group, LLC; AvalonBay Communities, Inc.;
Avenue5 Residential, LLC; Bell Partners, Inc.; BH Management Services, LLC; Camden
Property Trust; Campus Advantage, Inc.; Cardinal Group Holdings, LLC; CH Real Estate
Services; Cortland Partners, LLC; Cushman & Wakefield, Inc.; CWS Apartment Homes, LLC;
D.P. Preiss Company, Inc.; Dayrise Residential, LLC; Equity Residential; FPI Management,
Inc.; Greystar Real Estate Partners, LLC; Highmark Residential, LLC; Independence Realty
Trust, Inc.; Kairoi Management, LLC; Knightvest Residential; Lincoln Property Company; Mid-
America Apartment Communities, Inc.; Mission Rock Residential, LLC; Morgan Group, Inc.;
RPM Living, LLC; Sares Regis Group Operating, Inc.; Simpson Property Group, LLLP;
Trammel Crow Company, Inc.; UDR, Inc.; Windsor Property Management Company;
WinnCompanies LLC; ZRS Management LLC; Monarch Investment and Management Group;
and NALS Apartment Homes.

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filed in Texas, New Mexico, Colorado, Tennessee, and on both coasts. While no district to date

encompasses the headquarters of more defendants than the Northern District of Texas, the rest of

the Defendants are headquartered in over 20 different federal judicial districts from coast to

coast. As the Panel has recognized in another putative antitrust class action, the Northern

District of Texas in particular “provides a geographically central forum for . . . nationwide

litigation.” In re On-Line Travel Co. (OTC)/Hotel Booking Antitrust Litig., 908 F. Supp. 2d

1369, 1370 (J.P.M.L. 2012) (centralizing cases in the Northern District of Texas).

        The Northern District of Texas and its Dallas Division in particular also affords out-of-

town parties and counsel easy and convenient access to 2 major airports, Dallas/Fort Worth

International Airport (“DFW”) and Dallas Love Field Airport (“Love Field”), each located

within 20 miles of the Northern District of Texas courthouse in Dallas. In 2021, DFW was

selected as the world’s most connected airport. 21 It offers 239 nonstop destinations, more than

any other airport in the country.22 Love Field, less than 7 miles from Downtown Dallas,

complements DFW with flights to over 145 destinations and over 600 flight operations daily. 23

There is also a large selection of hotels and other accommodations in Dallas, with more than

80,000 hotel rooms in the area.

     C. The Relative Caseloads Favor the Northern District of Texas.

        The Northern District of Texas also has the resources and judicial experience to properly

conduct these complex proceedings. With 12 active Article III judges and a shorter time to trial

in civil cases than many other jurisdictions, the Northern District of Texas is well positioned to



21
   See Port Authority of NY & NJ, “2021 Airport Traffic Report,” 32 (April 2022).
22
   Kyle Arnold, DFW Airport Tops the Nation in a Category Travelers Can Appreciate, THE
DALLAS MORNING NEWS (Sept. 12, 2022).
23
   See Dallas Love Field Airport, https://www.dallas-lovefield.com/airport-info/about-us (last
accessed: Jan. 3, 2023).

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effectively and efficiently handle this litigation.24 Specifically, the median time to trial in civil

cases in the Northern District of Texas is 25.1 months, whereas the national average is 32.6

months.25

        Additionally, the Northern District of Texas presently has just 2 pending MDLs. See

generally In re Stanford Entities Secs. Litig., MDL 2099; In Re Depuy Orthopedics Inc. Pinnacle

Hip Implant Prods. Liab. Litig., MDL 2244. Therefore, it has capacity to manage another MDL

of this size and scope. See, e.g., In re Corn Derivative Antitrust Litig. 486 F. Supp. 929, 932

(J.P.M.L. 1980) (selecting transferee district because it had had relatively few multidistrict

litigations); In re Packaged Ice Antitrust Litig., 560 F. Supp. 2d 1359, 1361 (J.P.M.L. 2008)

(selecting a district with “favorable caseload conditions”).

     D. The Absence of a Filed Case in the Northern District of Texas Does Not Disfavor
        Centralization in that District.

        The Panel has recognized that the location of the currently filed cases is not a critical

factor in the Panel’s decision to transfer and centralize litigation where, as here, named Plaintiffs

are Texas residents and potential class members “will reside in every corner of the country.” See

In re BP p.l.c. Secs. Litig., 734 F. Supp. 2d 1376, 1377-79 (J.P.M.L. 2010); see also In re

Darvocet, Darvon & Propoxyphene Prods., 780 F. Supp. 2d at 1381 (J.P.M.L. 2011) (concluding

that “the location of the currently filed cases is not a particularly significant factor in [the

Panel’s] decision” because “potential plaintiffs and putative class members will reside in every

corner of the country and defendants are located in several states”). Indeed, both Plaintiffs and

Defendants reside and/or operate in various parts of the country. Six named Plaintiffs are Texas




24
   United States District Courts — National Judicial Caseload Profile,
https://www.uscourts.gov/sites/default/files/fcms_na_distprofile0630.2022_0.pdf (last visisted
Jan. 3, 2023)
25
   Id.

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residents who rent and/or have rented residential units in Texas, and Plaintiff Boelens previously

resided in Texas and rented a residential unit in Texas. See Bohn, 2:22-cv-01743, Compl. ¶¶ 17-

18 (Plaintiff Bohn allegedly rents in Dallas, Texas, which falls within the Northern District of

Texas); Vincin, Compl. ¶¶ 20-23 (Plaintiff Boelens allegedly rented in Euless, Texas, which falls

within the Northern District of Texas); Carter, Compl. ¶ 20. And there are already 2 Actions

pending in the Western District of Texas, which shows that the State of Texas is the preferred

forum of at least some Plaintiffs. See Vincin, Compl.; Carter, Compl. Accordingly, the absence

of a filed case in the Northern District of Texas does not disfavor its selection as transferee

district.26

     E. The Panel Should Not Afford Deference to Plaintiffs’ Choice of Forum.

        Including subsequent dismissals and re-filed cases, Plaintiffs have filed 31 Actions in 12

different forums.27 Leading up to and immediately following Defendants’ initial Section 1407

Motion, certain Plaintiffs voluntarily dismissed their cases and re-filed in the Western District of

Washington, as summarized below. But despite certain Plaintiffs’ best efforts to coordinate the

dismissal and re-filing of certain Actions in a single forum, which led to the Panel’s initial ruling,


26
   See In re Sw. Life Ins. Co. Sales Practices Litig., 268 F. Supp. 2d 1377, 1378 (J.P.M.L. 2003)
(explaining that “[e]ven though no constituent action is currently pending in the Northern
District of Texas, we are persuaded that this district is an appropriate transferee forum for this
litigation” because “relevant documents and witnesses are likely located there . . . and several
plaintiffs reside in Texas”); see also In re Silicone Gel Breast Implant Prods. Liab. Litig., 793 F.
Supp. 1098, 1101 (J.P.M.L. 1992) (transferring 78 actions to a district where none of them were
pending because, among other things, “no single location stands out as the geographic focal point
for this nationwide docket” and the Panel sought “a transferee judge with the ability and
temperament to steer this complex litigation”) (emphasis added).
27
   Plaintiffs originally filed actions in the Western District of Texas, the Southern District of
California, the Central District of California, the Northern District of California, the Western
District of Washington, the District of Colorado, the District of Massachusetts, the Southern
District of New York, the District of New Mexico, the District of Columbia, the Northern
District of Illinois, and the Middle District of Tennessee. As noted, because certain Actions have
been voluntarily dismissed as of the date of this Motion, the 22 Actions are currently pending in
7 districts: the Western District of Texas, the District of Colorado, the District of Massachusetts,
the District of New Mexico, the District of Columbia, the Middle District of Tennessee, and the
Western District of Washington.

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new Actions have again spread the litigation across various districts.

       On December 2, 2022, certain Plaintiffs simultaneously and voluntarily dismissed 2

Actions—1 pending in the Southern District of California (Bason, 3:22-cv-01611, Notice of

Voluntary Dismissal) and 1 pending in the Central District of California (Morgan, 8:22-cv-

02136, Notice of Voluntary Dismissal)—and joined to file a complaint in the Western District of

Washington that alleged the same claims and putative class on behalf of the same Plaintiffs as

their previously-filed Bason and Morgan Actions. See Morgan, 2:22-cv-01712, Compl.28

Moreover, on December 6, Plaintiff Armas, a North Carolina resident, voluntarily dismissed her

Action in the Northern District of California and joined Plaintiff Blum, a Tennessee resident, to

file a virtually identical Action also in the Western District of Washington. See Armas, 4:22-cv-

07543, Notice of Voluntary Dismissal; see also Armas, 2:22-cv-01726, Compl. On the same

day, Plaintiff Johnson, a California resident, voluntarily dismissed his Action in the Central

District of California, and proceeded to refile a virtually identical Action on December 7, also in

the Western District of Washington. See Johnson, 8:22-cv-02113, Notice of Voluntary

Dismissal; see also Johnson, 2:22-cv-01734, Compl. Plaintiffs in 3 additional Actions followed

and, by the end of the week, Plaintiffs voluntarily dismissed the 3 cases outside of the Western


28
   The Bason Action was the first-filed Action, and was pending before Judge William Q. Hayes,
a seasoned jurist who has significant complex litigation experience, having presided over
approximately 262 class actions. Judge Hayes would have been well-positioned to manage this
multidistrict litigation. Further, the first Morgan Action that was filed in the Central District of
California was assigned to another experienced district court judge who has presided over
approximately 901 class actions, including antitrust matters—at least one of which alleged a
similar conspiracy theory to that alleged here. See, e.g., G.U.E. Tech, LLC v. Panasonic
Avionics Corp., No. 15-cv-00789, 2016 WL 6138422 (C.D. Cal. Feb. 4, 2016). There is
currently pending before Judge Lasnik a motion to transfer the new Morgan case back to Judge
Hayes in the Southern District of California on the ground that Plaintiffs and their counsel in the
related Morgan and Bason cases have engaged in improper forum shopping (see Morgan, No.
2:22-cv-01712, Dkt. No. 20), which would add the Southern District of California as another
district with a pending related case. Both Plaintiffs in the original Morgan Action reside in
California, and 3 of the 5 original Bason Plaintiffs reside in California, whereas only 2 reside in
Washington.

                                                    19
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District of Washington. Silverman, 1:22-cv-09850 (S.D.N.Y.), Notice of Voluntary Dismissal;

Lazarte, 4:22-cv-06904 (N.D. Cal.), Notice of Voluntary Dismissal; Crook, 3:22-cv-01907 (S.D.

Cal.), Notice of Voluntary Dismissal. This maneuvering further illustrates that Plaintiffs’ claims

have no particular connection to any specific forum.

       This litigation is multidistrict. The Panel deemed Defendants’ initial motion to centralize

and transfer as moot because this litigation had lost its “multidistrict character.” See MDL 3066,

In re RealPage Apartment Rental Software Antitrust Litig., Dkt. No. 7. The recent filings in

Districts in Texas, Colorado, Massachusetts, Washington D.C., New Mexico and Tennessee have

made the litigation multidistrict again. Accordingly, the Panel should not afford deference to a

subset of Plaintiffs’ choice of a transferee district in light of their maneuvering. See, e.g.,

Alvarado v. Bank of America, No. Civ. S-08-2862, 2009 WL 720875 at *2-4 (E.D. Cal. Mar. 17,

2009) (granting motion to transfer complaint back to Northern District of California after

Plaintiff voluntarily dismissed and filed a virtually identical complaint in the Eastern District of

California).

       The facts and circumstances related to these Actions support transferring and centralizing

in the Northern District of Texas as the appropriate forum.

                                          CONCLUSION

       Defendants respectfully request that the Panel transfer the Actions for consolidated

pretrial proceedings to the Northern District of Texas.




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Dated: January 4, 2023                 Respectfully submitted,

/s/ Jay Srinivasan                     /s/ Michael M. Maddigan
Jay Srinivasan                         Michael M. Maddigan
jsrinivasan@gibsondunn.com             michael.maddigan@hoganlovells.com
Daniel G. Swanson                      Vassi K. Iliadis
dswanson@gibsondunn.com                vassi.iliadis@hoganlovells.com
GIBSON, DUNN & CRUTCHER LLP            HOGAN LOVELLS US LLP
333 South Grand Avenue                 1999 Avenue of the Stars, Suite 1400
Los Angeles, CA 90071                  Los Angeles, CA 90067
Telephone: (213) 229-7430              Telephone: (310) 785-4727

Stephen Weissman                       William L. Monts, III
sweissman@gibsondunn.com               william.monts@hoganlovells.com
Michael J. Perry                       Benjamin F. Holt
mjperry@gibsondunn.com                 benjamin.holt@hoganlovells.com
GIBSON, DUNN & CRUTCHER LLP            HOGAN LOVELLS US LLP
1050 Connecticut Avenue, NW            555 Thirteenth Street, NW
Washington, DC 20036                   Washington, DC 20004
Telephone: (202) 955-8678              Telephone: (202) 637-6440

Ben A. Sherwood                        Counsel for Defendant Greystar Real Estate
bsherwood@gibsondunn.com               Partners, LLC
GIBSON, DUNN & CRUTCHER LLP
200 Park Avenue
New York, NY 10166                     /s/ Belinda S Lee
Telephone: (212) 351-2671              Belinda S Lee
                                       belinda.lee@lw.com
Counsel for Defendant RealPage, Inc.   LATHAM & WATKINS LLP
                                       505 Montgomery Street, Suite 2000
                                       San Francisco, CA 94111
                                       Telephone: (415) 395-8851

                                       E. Marcellus Williamson
                                       marc.williamson@lw.com
                                       LATHAM & WATKINS LLP
                                       555 Eleventh Street, NW, Suite 1000
                                       Washington DC, 20004
                                       Telephone: (202) 637-2200

                                       Counsel for Defendant AvalonBay
                                       Communities, Inc.




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/s/ James Kress                              /s/ Michael W. Scarborough
James Kress                                  Michael W. Scarborough
james.kress@bakerbotts.com                   mscarborough@sheppardmullin.com
Paul Cuomo                                   Dylan I. Ballard
paul.cuomo@bakerbotts.com                    dballard@sheppardmullin.com
BAKER BOTTS LLP                              SHEPPARD MULLIN RICHTER & HAMPTON LLP
700 K. Street, NW                            Four Embarcadero Center, 17th Floor
Washington, DC 20001                         San Francisco, CA 94111
Telephone: (202) 639-7884                    Telephone: (415) 774-2963

Danny David                                  Arman Oruc
danny.david@bakerbotts.com                   aoruc@goodwinlaw.com
BAKER BOTTS LLP                              GOODWIN PROCTOR LLP
910 Louisiana Street                         1900 N Street, NW
Houston, TX 77002                            Washington, DC 20036
Telephone: (713) 229-4055                    (202) 346 4440

Counsel for Defendant Avenue5 Residential,   Counsel for Defendants Essex Property Trust,
LLC                                          Inc. and Essex Management Corporation


/s/ Gregory J. Casas                         /s/ J. Dino Vasquez
Gregory J. Casas                             J. Dino Vasquez
casasg@gtlaw.com                             dvasquez@karrtuttle.com
GREENBERG TRAURIG, LLP                       KARR TUTTLE CAMPBELL
300 West 6th Street, Suite 2050              701 Fifth Avenue, Suite 3300
Austin, TX 78701                             Seattle, WA 98104-7055
Telephone: (512) 320-7200                    Telephone: 206-224-8023

Robert J. Herrington                         Counsel for Defendant Security Properties
herringtonr@gtlaw.com                        Inc.
GREENBERG TRAURIG, LLP
1840 Century Park East, Suite 1900
Los Angeles, CA 90067                        /s/ Britt M. Miller
Telephone: (310) 586-7700                    Britt M. Miller
                                             bmiller@mayerbrown.com
Becky L. Caruso                              Daniel T. Fenske
carusob@gtlaw.com                            dfenske@mayerbrown.com
GREENBERG TRAURIG, LLP                       MAYER BROWN LLP
500 Campus Drive, Suite 400                  71 South Wacker Drive
Florham Park, NJ 07932                       Chicago, IL 6006
Telephone: (609) 442-1196                    Telephone: (312) 701-8663

Counsel for Defendant Lincoln Property Co.   Counsel for Defendant Mid-America
                                             Apartment Communities, Inc.




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/s/ Charles H. Samel                         /s/ Jeremy J. Calsyn
Charles H. Samel                             Jeremy J. Calsyn
charles.samel@stoel.com                      jcalsyn@cgsh.com
Edward C. Duckers                            Leah Brannon
ed.duckers@stoel.com                         lbrannon@cgsh.com
STOEL RIVES LLP                              Kenneth Reinker
1 Montgomery Street, Suite 3230              kreinker@cgsh.com
San Francisco, CA 94104                      CLEARY GOTTLIEB STEEN & HAMILTON LLP
Telephone: (415) 617-8900                    2112 Pennsylvania Avenue, NW
                                             Washington, DC 20037
George A. Guthrie                            Telephone: (202) 974-1522
gguthrie@wilkefleury.com
WILKE FLEURY LLP                             Joseph M. Kay
621 Capitol Mall, Suite 900                  jkay@cgsh.com
Sacramento, CA 95814                         CLEARY GOTTLIEB STEEN & HAMILTON LLP
Telephone: (916) 441-2430                    One Liberty Plaza
                                             New York, NY 10006
Counsel for Defendant FPI Management, Inc.   Telephone: (212) 225-2745

                                             Counsel for Defendants Cushman &
/s/ Timothy R. Beyer                         Wakefield, Inc. and Pinnacle Property
Timothy R. Beyer                             Management Services, LLC
tim.beyer@bclplaw.com
BRYAN CAVE LEIGHTON PAISNER LLP
1700 Lincoln Street, Suite 4100              /s/ Ian Simmons
Denver, CO 80203                             Ian Simmons
Telephone: (303) 866-0481                    isimmons@omm.com
                                             O’MELVENY & MYERS LLP
Sarah Hartley                                1625 Eye Street, NW
sarah.hartley@bclplaw.com                    Washington, DC 29996
BRYAN CAVE LEIGHTON PAISNER LLP              Telephone: (202) 383-5106
1155 F Street, N.W.
Washington, DC 20004                         Stephen McIntyre
Telephone: (303) 866-0363                    smcintyre@omm.com
                                             O’MELVENY & MYERS LLP
Counsel for Defendant Cardinal Group         400 South Hope Street, 18th Floor
Holdings LLC                                 Los Angeles, CA 90071
                                             Telephone: (213) 430-8382

                                             Counsel for Defendant BH Management
                                             Services, LLC




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/s/ Judith A. Zahid                       /s/ Amy B. Manning
Judith A. Zahid                           Amy B. Manning
jzahid@zellelaw.com                       amanning@mcguirewoods.com
Heather T. Rankie                         Angelo M. Russo
hrankie@zellelaw.com                      arusso@mcguirewoods.com
ZELLE LLP                                 MCGUIREWOODS LLP
555 12th Street, Suite 1230               77 West Wacker Drive, Suite 4100
Oakland, CA 94607                         Chicago, IL 60601
Telephone: (415) 693-0700                 Telephone: (312) 750-8904

Counsel for Defendant Prometheus Real     Counsel for Defendant D.P. Preiss Company,
Estate Group, Inc.                        Inc.


/s/ Benjamin R. Nagin                     /s/ Lynn H. Murray
Benjamin Nagin                            Lynn H. Murray
bnagin@sidley.com                         lhmurray@shb.com
SIDLEY AUSTIN LLP                         SHOOK, HARDY & BACON L.L.P.
787 Seventh Avenue                        111 S. Wacker Dr., Suite 4700
New York, NY 10019                        Chicago, IL 60606
Telephone: (212) 839-5300                 Telephone: (312) 704-7766

Counsel for Defendant ConAm Management    Ryan Sandrock
Corporation                               rsandrock@shb.com
                                          SHOOK, HARDY & BACON L.L.P.
                                          555 Mission Street, Suite 2300
/s/ Marisa Secco Giles                    San Francisco, CA 94105
Marisa Secco Giles                        Telephone: (415) 544-1944
mgiles@velaw.com
VINSON & ELKINS LLP                       Laurie A. Novion
200 West 6th Street, Suite 2500           lnovion@shb.com
Austin, TX 78701                          SHOOK, HARDY & BACON L.L.P.
Telephone: (512) 542-8781                 2555 Grand Blvd.
                                          Kansas City, MO 64108
Jason M. Powers                           Telephone: (816) 559-2352
jpowers@velaw.com
VINSON & ELKINS LLP                       Counsel for Defendant Camden Property
845 Texas Avenue, Suite 4700              Trust
Houston, TX 77002
Telephone: (713) 758-2522

Counsel for Defendant Campus Advantage,
Inc.




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/s/ David T. Moran                         /s/ Craig Seebald
David T. Moran                             Craig P. Seebald
dmoran@jw.com                              cseebald@velaw.com
JACKSON WALKER LLP                         Stephen M. Medlock
2323 Ross Avenue, Suite 600                smedlock@velaw.com
Dallas, TX 75201                           Molly E. McDonald
Telephone: (214) 953-6051                  mmcdonald@velaw.com
                                           Alex Rant
Joseph A. Fischer, III                     arant@velaw.com
tfischer@jw.com                            Rami Abdallah E. Rashmawi
Joel R. Glover                             rrashmawi@velaw.com
jglover@jw.com                             VINSON & ELKINS LLP
JACKSON WALKER LLP                         2200 Pennsylvania Ave., N.W.
1401 McKinney Street, Suite 1900           Suite 500 West
Houston, TX 77010                          Washington, D.C. 20037
Telephone: (713) 752-4226                  Telephone: (202) 639-6500

Counsel for Defendant Morgan Group, Inc.   Christopher W. James
                                           cjames@velaw.com
                                           Madison Lo
/s/ Ferdose Al-Taie                        mlo@velaw.com
Ferdose Al-Taie                            VINSON & ELKINS LLP
ferdose.al-taie@akerman.com                555 Mission Street
Ryan Krone                                 Suite 2000
ryan.krone@akerman.com                     San Francisco, CA 94105
AKERMAN LLP                                Telephone: (415) 979-6900
2001 Ross Avenue, Suite 3600
Dallas, TX 75201                           Counsel for Defendant Windsor Property
Telephone: (214) 720-4308                  Management Company

Counsel for Defendant ZRS Management,
LLC                                        /s/ Carl W. Hittinger
                                           Carl W. Hittinger
                                           chittinger@bakerlaw.com
/s/ David A. Walton                        BAKER & HOSTETLER LLP
David A. Walton                            1735 Market Street, Suite 3300
dwalton@bellnunnally.com                   Philadelphia, PA 19103
Troy Lee (T.J.) Hales                      Telephone: (215) 564-2898
thales@bellnunnally.com
BELL NUNNALLY & MARTIN, LLP                Counsel for Defendant Equity Residential
2323 Ross Avenue, Suite 1900
Dallas, TX 75201
Telephone: (214) 740-1445

Counsel for Defendant RPM Living, LLC




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/s/ Michael D. Bonanno                        /s/ David D. Cross
Michael D. Bonanno                            David D. Cross
mikebonanno@quinnemanuel.com                  dcross@mofo.com
Christopher Kercher                           Jeffrey A. Jaeckel
christopherkercher@quinnemanuel.com           jjaeckel@mofo.com
QUINN EMANUEL URQUHART & SULLIVAN,            Robert W. Manoso
LLP                                           rmanoso@mofo.com
1300 I Street NW, Suite 900                   Sonja Swanbeck
Washington, DC 20005                          sswanbeck@mofo.com
Telephone: (202) 538-8225                     MORRISON & FOERSTER LLP
                                              2100 L St, NW, Suite 900
Counsel for Defendant Highmark Residential,   Washington, DC 20037
LLC                                           Telephone: (202) 887-1500

                                              Counsel for Defendant UDR, Inc.
/s/ Benjamin I. VandenBerghe
Benjamin I. VandenBerghe
biv@montgomerypurdue.com                      /s/ Todd R. Seelman
Kaya R. Lurie                                 Todd R. Seelman
klurie@montgomerypurdue.com                   todd.seelman@lewisbrisbois.com
MONTGOMERY PURDUE PLLC                        Thomas L. Dyer
701 Fifth Avenue, Suite 5500                  thomas.dyer@lewisbrisbois.com
Seattle, WA 98104                             LEWIS BRISBOIS BISGAARD & SMITH LLP
Telephone: (206) 682-7090                     1700 Lincoln Street, Suite 4000
                                              Denver, CO 80203
Counsel for Defendant Thrive Communities      Telephone: (720) 292-2002
Management, LLC
                                              Rachel Tallon Reynolds
                                              rachel.reynolds@lewisbrisbois.com
/s/ James D. Bragdon                          LEWIS BRISBOIS BISGAARD & SMITH LLP
James D. Bragdon                              1111 Third Avenue, Suite 2700
jbragdon@gejlaw.com                           Seattle, WA 98101
Sam Cowin                                     Telephone: (206) 436-2020
scowin@gejlaw.com
GALLAGHER EVELIUS & JONES LLP                 Counsel for Defendants Cortland Partners,
218 North Charles St., Ste. 400               LLC and Mission Rock Residential, LLC
Baltimore, MD 21201
Telephone: (410) 347-1369

Counsel for Bozzuto Management Company




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/s/ Edwin Buffmire                          /s/ Fred B. Burnside
Edwin Buffmire                              Fred B. Burnside
ebuffmire@jw.com                            fredburnside@dwt.com
Michael W. Moran                            MaryAnn T. Almeida
mmoran@jw.com                               maryannalmeida@dwt.com
JACKSON WALKER LLP                          DAVIS WRIGHT TREMAINE LLP
2323 Ross Avenue, Suite 600                 920 Fifth Avenue, Suite 3300
Dallas, TX 75201                            Seattle, WA 98104-1610
Telephone: (214) 953-5939                   Telephone: (206) 622-3150

Kevin Fulton                                Yonaton Rosenzweig
kevin@fultonlg.com                          yonirosenzweig@dwt.com
FULTON LAW GROUP, PLLC                      DAVIS WRIGHT TREMAINE LLP
7676 Hillmont Street, Suite 191             865 S Figueroa Street, Suite 2400
Houston, TX 77040                           Los Angeles, CA 90017
Telephone: (713) 589-6964                   Telephone: (213) 655-9642

Counsel for Defendant Allied Orion Group,   Counsel for Defendants The Michaels
LLC                                         Organization, LLC and Interstate Realty
                                            Management Company


/s/ Elizabeth A.N. Haas                     /s/ Michael F. Murray
Elizabeth A. N. Haas                        Michael F. Murray
ehaas@foley.com                             michaelmurray@paulhastings.com
Ian Hampton                                 PAUL HASTINGS LLP
ihampton@foley.com                          2050 M Street, NW
FOLEY & LARDNER LLP                         Washington, DC 20036
777 East Wisconsin Avenue                   Telephone: (202) 551-1730
Milwaukee, WI 53202
Telephone: (414) 271-2400                   Noah Pinegar
                                            noahpinegar@paulhastings.com
Diane R. Hazel                              PAUL HASTINGS LLP
dhazel@foley.com                            200 Park Ave
FOLEY & LARDNER LLP                         New York, NY 10166
1400 16th Street, Suite 200                 Telephone: (212) 318-6057
Denver, CO 80202
Telephone: (720) 437-2034                   Counsel for Defendant CA Ventures Global
                                            Services, LLC
Counsel for Defendant Sherman Associates,
Inc.




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